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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       FINJAN, INC.,                                     Case No. 17-cv-04790-HSG
                                   8                     Plaintiff,                          CLAIM CONSTRUCTION ORDER
                                   9               v.

                                  10       BITDEFENDER INC., et al.,
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13            On August 16, 2017, Plaintiff Finjan Inc. (“Finjan”) filed this patent infringement action

                                  14   against Defendants Bitdefender Inc. and Bitdefender S.R.L. (collectively, “Bitdefender”). Dkt.

                                  15   No. 1 (“Compl.”). The parties now seek construction of ten terms found in four patents: Patent

                                  16   Nos. 6,804,780 (“the ’780 Patent”), 7,930,299 (“the ’299 Patent”), 8,141,154 (“the ’154 Patent”),

                                  17   and 8,677,494 (“the ’494 Patent”) (collectively, “the Asserted Patents”). See Dkt. No. 73
                                       (“JCCS”). This order follows claim construction briefing and a claim construction hearing. See
                                  18
                                       Dkt. Nos. 76 (“Op. Br.”), 81 (“Resp. Br.”), 84 (“Reply Br.”). The parties subsequently submitted
                                  19
                                       several requests for judicial notice regarding recently filed orders interpreting the Asserted
                                  20
                                       Patents. See Dkt. Nos. 90, 92–94.1
                                  21
                                           I.   LEGAL STANDARD
                                  22

                                  23            Claim construction is a question of law to be determined by the Court. Markman v.

                                  24   Westview Instruments, Inc., 517 U.S. 370, 384 (1996). “The purpose of claim construction is to

                                  25   determine the meaning and scope of the patent claims asserted to be infringed.” O2 Micro Int’l

                                  26
                                  27   1
                                         The Court GRANTS the requests for judicial notice. The existence and contents of those orders
                                  28   are “not subject to reasonable dispute” because they “can be accurately and readily determined
                                       from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).
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                                   1   Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (quotation omitted).

                                   2          Generally, claim terms should be “given their ordinary and customary meaning”—in other

                                   3   words, “the meaning that the term[s] would have to a person of ordinary skill in the art in question

                                   4   at the time of the invention.” Phillips v. AWH Corp., 415 F.3d 1303, 1312–13 (Fed. Cir. 2005) (en

                                   5   banc) (quotation omitted). There are only two circumstances where a claim is not entitled to its

                                   6   plain and ordinary meaning: “1) when a patentee sets out a definition and acts as his own

                                   7   lexicographer, or 2) when the patentee disavows the full scope of a claim term either in the

                                   8   specification or during prosecution.” Thorner v. Sony Comput. Entm’t Am. LLC, 669 F.3d 1362,

                                   9   1365 (Fed. Cir. 2012).

                                  10          When construing claim terms, the Federal Circuit emphasizes the importance of intrinsic

                                  11   evidence such as the language of the claims themselves, the specification, and the prosecution

                                  12   history. Phillips, 415 F.3d at 1312–17. The claim language can “provide substantial guidance as
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                                  13   to the meaning of particular claim terms,” both through the context in which the claim terms are

                                  14   used and by considering other claims in the same patent. Id. at 1314. The specification is likewise

                                  15   a crucial source of information. Id. at 1315–17. Although it is improper to read limitations from

                                  16   the specification into the claims, the specification is “the single best guide to the meaning of a

                                  17   disputed term.” Id. at 1315 (noting that “the specification is always highly relevant to the claim

                                  18   construction analysis,” and that “[u]sually, it is dispositive” (quotation omitted)); see also Merck

                                  19   & Co. v. Teva Pharm. USA, Inc., 347 F.3d 1367, 1371 (Fed. Cir. 2003) (explaining that “claims

                                  20   must be construed so as to be consistent with the specification”).

                                  21          Despite the importance of intrinsic evidence, courts may also consider extrinsic evidence—

                                  22   technical dictionaries, learned treatises, expert and inventor testimony, and the like—to help

                                  23   construe the claims. Phillips, 415 F.3d at 1317–18. For example, dictionaries may reveal what

                                  24   the ordinary and customary meaning of a term would have been to a person of ordinary skill in the

                                  25   art at the time of the invention. Frans Nooren Afdichtingssystemen B.V. v. Stopaq Amcorr

                                  26   Inc., 744 F.3d 715, 722 (Fed. Cir. 2014) (“Terms generally carry their ordinary and customary

                                  27   meaning in the relevant field at the relevant time, as shown by reliable sources such as

                                  28   dictionaries, but they always must be understood in the context of the whole document—in
                                                                                          2
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                                   1   particular, the specification (along with the prosecution history, if pertinent).”). Expert testimony

                                   2   can also help “to ensure that the court’s understanding of the technical aspects of the patent is

                                   3   consistent with that of a person of skill in the art, or to establish that a particular term in the patent

                                   4   or the prior art has a particular meaning in the pertinent field.” Phillips, 415 F.3d at 1318.

                                   5   Extrinsic evidence is, however, “less significant than the intrinsic record in determining the legally

                                   6   operative meaning of claim language.” Id. at 1317 (quotation omitted).

                                   7    II.      AGREED TERMS
                                   8             The parties agree on the construction of three terms. JCCS at 1. In light of the parties’

                                   9   agreement, the Court adopts the construction of these terms as set forth in the following table:

                                  10             Patent                   Claim Term                          Agreed Construction
                                  11                                                                 “an executable application program,
                                                                “downloadable” [claims 1, 2, 5,      which is downloaded from a source
                                  12          ’494 Patent       6, 7, 10, 11, 14, 15, and 16]        computer and run on the destination
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                                                                                                     computer”
                                  13
                                                                                                     “a collection of interrelated data
                                  14                            “database” [claims 1, 2, 10, and     organized according to a database
                                              ’494 Patent       11]                                  schema to serve one or more
                                  15                                                                 applications”
                                  16                                                                 “an executable application program,
                                                                “downloadable” [claims 1, 2, 5,      which is downloaded from a source
                                  17          ’780 Patent       6, 9, 13, 14, and 18]                computer and run on the destination
                                  18                                                                 computer”

                                  19   III.      DISPUTED TERMS
                                  20            A.    “suspicious computer operations” (’494 Patent)
                                  21                      Finjan’s Construction                         Bitdefender’s Construction
                                  22                                                           Indefinite
                                              No construction necessary – Plain and
                                  23          ordinary meaning. Plain and ordinary             Alternatively, “a subset of all possible
                                  24          meaning of “suspicious” is “hostile or           computer operations that have been deemed
                                              potentially hostile.”                            suspicious prior to their inclusion in the
                                  25                                                           list”
                                  26
                                  27             The Court adopts Finjan’s construction, finds the plain and ordinary meaning of
                                  28   “suspicious” is “hostile or potentially hostile,” and accordingly construes the term
                                                                                           3
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                                   1   “suspicious computer operations” as “hostile or potentially hostile computer operations.”

                                   2          The disputed term appears in independent claims 1 and 10, and dependent claims 6 and 15

                                   3   of the ’494 Patent. JCCS at 1. Claim 1 is representative of how the term is used in the claim

                                   4   language:

                                   5                                                   Claim 1
                                   6       1. A computer-based method, comprising the steps of:
                                             receiving an incoming Downloadable;
                                   7
                                             deriving security profile data for the Downloadable, including a list of suspicious
                                   8          computer operations that may be attempted by the Downloadable; and
                                             storing the Downloadable security profile data in a database.
                                   9

                                  10          Finjan asks the Court to give “suspicious computer operations” its plain and ordinary
                                  11   meaning, arguing that the plain meaning of “suspicious” in the context of the ’494 Patent is
                                  12   “hostile or potentially hostile.” Op. Br. at 3–5; Reply Br. at 1–3. Starting with the specification,
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                                  13   Finjan notes that the ’494 Patent incorporates the ’780 Patent, which describes “suspicious”
                                  14   computer operations as “Operations Deemed Potentially Hostile.” See Op. Br. at 3; see also ’494
                                  15   Patent, 1:28–33 (incorporating the ’780 Patent by reference); ’780 Patent, 3:25–28 (“It is to be
                                  16   understood that the term ‘suspicious’ includes hostile, potentially hostile, undesirable, potentially
                                  17   undesirable, etc.”). Finjan further notes that the ’780 Patent discloses several examples of
                                  18   potentially hostile computer operations. See Op. Br. at 3; see also ’780 Patent, 5:55–60 (“DSP
                                  19   data 310 includes the list of all potentially hostile or suspicious computer operations that may be
                                  20   attempted by a specific Downloadable 307, and may also include the respective arguments of
                                  21   these operations. For example, DSP data 310 may include a READ from a specific file, a SEND
                                  22   to an unresolved host, etc.”), 6:1–14 (providing “An Example list of Operations Deemed
                                  23   Potentially Hostile”). According to Finjan’s expert, a person of ordinary skill in the art would,
                                  24   after reading the patentee’s specification, understand the term to possess its plain meaning: “as
                                  25   computer operations that are hostile or potentially hostile.” Dkt. No. 76-1 (“Medvidovic Decl.”)
                                  26   ¶¶ 12–14.
                                  27          Bitdefender and its expert argue the term is indefinite because whether a computer
                                  28   operation is “suspicious”—or “hostile,” for that matter—“is an inherently subjective matter of
                                                                                         4
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                                   1   opinion.” Resp. Br. at 1; Dkt. No. 81-3 (“Shaefer Decl.”) ¶ 17 (opining that “certain computer

                                   2   operations may be welcome in one environment, but unsafe in another”). In Bitdefender’s view,

                                   3   “suspicious” is just as subjective as terms previously found indefinite by the Federal Circuit.

                                   4   Resp. Br. at 1–2 (citing Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371–74 (Fed. Cir.

                                   5   2014) (finding “in an unobtrusive manner” indefinite) and Datamize, LLC v. Plumtree Software,

                                   6   Inc., 417 F.3d 1342, 1350–56 (Fed. Cir. 2005) (finding “aesthetically pleasing look and feel”

                                   7   indefinite), abrogated by Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898 (2014)). And as

                                   8   to Finjan’s reliance on the examples of suspicious computer operations in the ’780 Patent,

                                   9   Bitdefender responds that nonexclusive lists cannot render definite an otherwise subjective term.

                                  10   Id.

                                  11          Bitdefender alternatively argues that, if the Court finds the term definite, the Court should

                                  12   construe it as “a subset of all possible computer operations that have been deemed suspicious prior
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                                  13   to their inclusion in the list.” Resp. Br. at 2. Bitdefender contends this would be consistent with

                                  14   the ’780 Patent’s list of operations that are “deemed potentially hostile,” as well as representations

                                  15   made by Finjan to the PTAB in Symantec Corp. v. Finjan, Inc., No. IPR2015-01892, 2017 WL

                                  16   1041718 (P.T.A.B. Mar. 15, 2017) (“Symantec IPR”). Id. at 2-3.

                                  17          The Court first finds the term is sufficiently definite. Contrary to Bitdefender’s arguments,

                                  18   the term “suspicious computer operations,” when read in light of the specification and file history,

                                  19   is not facially subjective to a person of ordinary skill in the art. As Finjan notes, to suggest that a

                                  20   person skilled in computer security somehow cannot apply the term “suspicious computer

                                  21   operations” without additional guidance is untenable. See Reply Br. at 1. The Court also finds

                                  22   Bitdefender’s purportedly comparable cases unavailing. A system displaying content in an

                                  23   “unobtrusive manner” or the look and feel of a kiosk screen being “aesthetically pleasing” are

                                  24   categorically unlike “suspicious computer operations,” which a person of ordinary skill in the art

                                  25   of computer security would have no issue objectively applying. See Medvidovic Decl. ¶¶ 12–14.

                                  26   Cf. Interval Licensing LLC, 766 F.3d at 1371–74; Datamize, LLC, 417 F.3d at 1350–56.

                                  27          The Court also finds that the term’s plain and ordinary meaning is “hostile or potentially

                                  28   hostile.” As Finjan notes, the ’494 Patent incorporates the ’780 Patent, which in turn expressly
                                                                                          5
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                                   1   states that “suspicious” operations are “hostile or potentially hostile.” Op. Br. at 3–5. And as

                                   2   Finjan’s expert explains, a skilled artisan would view the term to carry that meaning. See

                                   3   Medvidovic Decl. ¶¶ 12-14; Phillips, 415 F.3d at 1312–13 (instructing courts to typically give

                                   4   terms their ordinary and customary meaning).

                                   5          As to Bitdefender’s alternative proposal, the Court does not find that Finjan’s PTAB

                                   6   representations amounted to a disclaimer because Finjan did not directly contradict its position

                                   7   here. In the Symantec IPR, Finjan said, for instance, that there is “no a priori understanding of

                                   8   what constitutes a suspicious computer operation, but rather, some subset of all possible computer

                                   9   operations must first be deemed suspicious in order to derive a list of suspicious computer

                                  10   operations for a Downloadable.” Adamson Decl. Ex. A, at 8–9 (quotations and alterations

                                  11   removed). But that statement does not unambiguously contradict Finjan’s position here: that a

                                  12   skilled artisan would understand the term “suspicious computer operations” to mean “hostile or
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                                  13   potentially hostile” when read in the context of the claims. See Reply Br. at 2–3.

                                  14          Finally, the Court observes that other judicial decisions support the Court’s conclusions

                                  15   here. See Finjan, Inc. v. Symantec Corp., No. 14-cv-02998-HSG, 2017 WL 550453, at *3 (N.D.

                                  16   Cal. Feb. 10, 2017) (“The court considers the prior claim construction order for its persuasive

                                  17   value, while still ultimately reaching its own independent judgment.”). For instance, in Finjan,

                                  18   Inc. v. Blue Coat Systems, LLC, Judge Freeman articulated this claim term as including

                                  19   “potentially hostile” operations. See No. 15-cv-03295-BLF, 2016 WL 7212322, at *2 (N.D. Cal.

                                  20   Dec. 13, 2016) (Blue Coat II). And several other courts in this district have not found this term

                                  21   indefinite when considering the ’494 Patent under 35 U.S.C. § 101. See Op. Br. at 4 (citing

                                  22   Finjan, Inc. v. Sophos, Inc., 244 F. Supp. 3d 1016, 1055–1061 (N.D. Cal. Mar. 14, 2017)).

                                  23   Construing U.S. Patent No. 6,092,194 (“the ’194 Patent”)—a parent of the ’494 Patent—a federal

                                  24   district court in Delaware gave a plain and ordinary meaning to the term “a list of suspicious

                                  25   computer operations that may be attempted by the Downloadable.” See Finjan, Inc. v. McAfee,

                                  26   Inc., No. 10-cv-00593 (GMS), 2012 WL 12905833, at *1 & n.3 (D. Del. Feb. 29, 2012) (emphasis

                                  27   added). In doing so, the court rejected the defendant’s proposed construction of this term as “a list

                                  28   of all operations that may be attempted by the received Downloadable that have been determined
                                                                                         6
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                                   1   to be suspicious.” See id. at *1 n.3. The court found that Finjan had not “disavowed the plain and

                                   2   ordinary meaning of this term through its patent specification and prosecution history to

                                   3   distinguish it from the prior art.” Id. Most recently, in Finjan, Inc. v. Juniper Network, Inc.,

                                   4   Judge Alsup rejected an argument that “suspicious computer operations” was indefinite for being

                                   5   subjective—the very argument Bitdefender now advances. See No. C 17-05659 WHA, 2018 WL

                                   6   4184338, at *6 (N.D. Cal. Aug. 31, 2018) (Juniper).2

                                   7           B.    “Downloadable scanner coupled with said receiver, for deriving security profile
                                                     data for the Downloadable” (’494 Patent)
                                   8
                                                      Finjan’s Construction                          Bitdefender’s Construction
                                   9
                                                                                             This phrase should be construed pursuant to
                                  10                                                         35 U.S.C. § 112(6) to cover the
                                                                                             corresponding structure disclosed in the
                                  11                                                         ’494 patent, namely the code scanner
                                                                                             referred to in the ’194 patent at 5:36–57,
                                  12
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                                             No construction necessary – Plain and           9:20–33, and Fig. 7, and equivalents.
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                                  13         ordinary meaning.
                                                                                             Alternatively, “a code scanner that uses
                                  14
                                                                                             parsing techniques to decompose code into
                                  15                                                         constituent operations and identifies
                                                                                             specified operations or patterns of
                                  16                                                         operations”
                                  17

                                  18            The Court construes this term as “Downloadable software that searches code to

                                  19   identify suspicious patterns or suspicious computer operations, coupled with said receiver,

                                  20   for deriving security profile data for the Downloadable.”

                                  21            The disputed term appears in independent claim 10 of the ’494 Patent. JCCS at 1.

                                  22   //

                                  23   //

                                  24   //

                                  25   //

                                  26
                                  27
                                       2
                                         Judge Alsup also construed “list of” in “list of suspicious computer operations,” and construed
                                       that term as a whole to be “list of computer operations in a received Downloadable that are
                                  28   deemed hostile or potentially hostile.” 2008 WL 4174338, at *3. The parties here, however, do
                                       not ask this Court to construe the “list of” language.
                                                                                           7
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                                                                                       Claim 10
                                   1
                                           10. A system for managing Downloadables, comprising:
                                   2        a receiver for receiving an incoming Downloadable;
                                   3        a Downloadable scanner coupled with said receiver, for deriving security profile data
                                             for the Downloadable, including a list of suspicious computer operations that may be
                                   4         attempted by the Downloadable; and
                                            a database manager coupled with said Downloadable scanner, for storing the
                                   5
                                             Downloadable security profile data in a database.
                                   6

                                   7          Finjan again argues that no construction is necessary, and that the Court can adopt the

                                   8   term’s plain and ordinary meaning. See Op. Br. at 5–7; Reply Br. 3–5. Finjan highlights that the

                                   9   parties have already agreed that the term “Downloadable” means an “executable application

                                  10   program, which is downloaded from a source computer and run on the destination computer.” See

                                  11   Op. Br. at 5. Finjan’s expert then opines that “a scanner is a well know[n] component in computer

                                  12   security and software, and has an associated structure for scanning content such as
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                                  13   Downloadables.” See id. (citing Medvidovic Decl. ¶ 16). Finjan’s expert continues: “A scanner

                                  14   connotes a structure that is directed to scanning a downloadable received by the receiver.

                                  15   Moreover, reading the entire claim explains that it has three distinct steps: (1) a receiver receives

                                  16   Downloadables, (2) a scanner scans those Downloadables, and (3) a database manager stores the

                                  17   data obtained by the scanner in a database.” Medvidovic Decl. ¶ 17. Thus, in Finjan’s expert’s

                                  18   opinion, “there is no need to look any further for the structure of this term.” Id.

                                  19          Bitdefender argues this is a means-plus-function term subject to 35 U.S.C. § 112, despite

                                  20   the absence of the word “means.” See Resp. Br. at 3. And it contends that the claim terms are

                                  21   either purely functional (“deriving security profile data for the Downloadable”) or refer to the

                                  22   scanner’s “relation to other parts in the system, not its structure” (for instance, “coupled with said

                                  23   receiver”). Id. Bitdefender argues accordingly that the “Downloadable scanner” lacks sufficient

                                  24   “internal structure” to render the term definite. Id. at 4–5. Finally, Bitdefender contends that “[t]o

                                  25   the extent the Court finds that the features that Finjan attributed to the claims in order to defend

                                  26   their validity in [other matters] impart sufficient structure to avoid application of § 112, ¶ 6,” the

                                  27   Court should adopt the construction, “a code scanner that uses parsing techniques to decompose

                                  28   code into constituent operations and identifies specified operations or patterns of operations.” Id.
                                                                                          8
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                                   1   at 5.

                                   2             In assessing whether a claim invokes Section 112(6), the Court must determine if the claim

                                   3   limitation is drafted in the means-plus-function format. “The use of the term ‘means’ triggers a

                                   4   rebuttable presumption that § 112, ¶ 6 governs the construction of the claim term.” Robert Bosch,

                                   5   LLC v. Snap-On Inc., 769 F.3d 1094, 1097 (Fed. Cir. 2014). Conversely, there is a general

                                   6   presumption that the limitation does not invoke Section 112(6) where the claim language does not

                                   7   recite the term “means.” Id.; Zeroclick, LLC v. Apple Inc., 891 F.3d 1003, 1007 (Fed. Cir. 2018).

                                   8   This presumption is not strong, and it is rebuttable. Williamson v. Citrix Online, LLC, 792 F.3d

                                   9   1339, 1349 (Fed. Cir. 2015). “The standard is whether the words of the claim are understood by

                                  10   persons of ordinary skill in the art to have a sufficiently definite meaning as the name for

                                  11   structure.” Id. “When a claim term lacks the word ‘means,’ the presumption can be overcome and

                                  12   § 112, para. 6 will apply if the challenger demonstrates that the claim term fails to ‘recite
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                                  13   sufficiently definite structure’ or else recites ‘function without reciting sufficient structure for

                                  14   performing that function.”’ Id. (quoting Watts v. XL Sys., Inc., 232 F.3d 877, 880 (Fed. Cir.

                                  15   2000)).

                                  16             The Court finds that this is not a means-plus-function term subject to Section § 112(6). To

                                  17   begin, the claim term does not use the word “means.” “Presumptively, therefore, § 112, ¶ 6 does

                                  18   not apply . . . .” See Zeroclick, LLC, 891 F.3d at 1007. Nor does the term contain an equivalent

                                  19   nonce word for “means,” such as “module.” Cf. Williamson, 792 F.3d at 1350 (finding that

                                  20   “[m]odule is a well-known nonce word that can operate as a substitute for ‘means’ in the context

                                  21   of § 112, para. 6”); Zeroclick, LLC, 891 F.3d at 1008 (holding that a district court erred by

                                  22   effectively treating “program” and “user interface code” as nonce words and thus as substitutes for

                                  23   “means”).

                                  24             Bitdefender relies on Media Rights Technologies, Inc. v. Capital One Financial Corp., 800

                                  25   F.3d 1366, 1372 (Fed. Cir. 2015), for the proposition that “scanner” does not impart sufficient

                                  26   “internal structure,” but that case is inapposite in several respects. See Resp. Br. at 3–4. First, the

                                  27   Media Rights plaintiff did not dispute that the term to be construed—“compliance mechanism”—

                                  28   had “no commonly understood meaning and is not generally viewed by one skilled in the art to
                                                                                           9
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                                   1   connote a particular structure.” Media Rights, 800 F.3d at 1372. Here, in contrast, Finjan’s expert

                                   2   opines that a “scanner” is recognized by those skilled in the art “as a structure for scanning a

                                   3   Downloadable.” See Medvidovic Decl. ¶¶ 16–17. Second, unlike in Media Rights, where the

                                   4   court found that the modifier “compliance” failed to impart additional structure to the term

                                   5   “mechanism,” the parties here agree that a “Downloadable” is “an executable application program,

                                   6   which is downloaded from a source computer and run on the destination computer.” Compare 800

                                   7   F.3d at 1373 (citing Mass. Inst. of Tech. v. Abacus Software, 462 F.3d 1344, 1354 (Fed. Cir.

                                   8   2006)), with JCCS at 1. Given the parties’ agreement that “Downloadable” has a tangible

                                   9   meaning, the Court finds that a skilled artisan could derive the proper scope of the claim term from

                                  10   the patent’s language.

                                  11          The Court also rejects Bitdefender’s alternative construction, which not only reads out

                                  12   several of the claim’s express elements—e.g., “Downloadable,” “security profile data,” and
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                                  13   “coupled with said receiver”—but also reads in elements that appear nowhere in the claim

                                  14   language—e.g., “parsing” and “code.” For this construction, Bitdefender relies on technical

                                  15   dictionaries and features of the incorporated ’194 Patent. See Resp. Br. at 5. But this Court

                                  16   cannot sanction a wholesale reconstruction of a term on this basis, given the general proscription

                                  17   against importing extrinsic limitations into the claim terms. See Phillips, 415 F.3d at 1312–13.

                                  18          Although the Court agrees with Finjan that a skilled artisan could derive the proper scope

                                  19   of the claim term from the patent’s language, the Court finds deficient Finjan’s proposal that no

                                  20   construction is necessary. As Judge Freeman recently explained in construing “Downloadable

                                  21   scanner” in this claim, “[p]resenting that the scanner has a plain and ordinary meaning will not aid

                                  22   the jury.” Finjan, Inc. v. Cisco Sys., Inc., No. 17-cv-00072-BLF, 2018 WL 3537142, at *13 (N.D.

                                  23   Cal. July 23, 2018) (Cisco). And as Judge Freeman detailed, the specification of the ’194

                                  24   Patent—a parent of the ’494 Patent—disclosed that a code scanner “may search the code for any

                                  25   pattern, which is undesirable or suggests that the code was written by a hacker.” Id. (citing ’194

                                  26   Patent, 5:54–57). Because the scanner “may generate DSP data that includes suspicious computer

                                  27   operations,” Judge Freeman ultimately reasoned that a skilled artisan would understand

                                  28   “Downloadable scanner” to mean “software that searches code to identify suspicious patterns or
                                                                                         10
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                                   1   suspicious computer operations.” Id. (citing ’194 Patent, 5:50–54); see also Juniper, 2018 WL

                                   2   4184338, at *7–8 (adopting Cisco’s construction). The Court agrees.

                                   3          C.     “database manager” (’494 Patent)
                                   4                 Finjan’s Construction                           Bitdefender’s Construction
                                   5       No construction necessary – Plain and             “A program or programs that control a
                                           ordinary meaning. Plain and ordinary              database so that the information it contains
                                   6       meaning of database manager is hardware           can be stored, retrieved, updated, and
                                           and/or software that controls a database.         sorted”
                                   7

                                   8          The Court adopts Bitdefender’s construction.
                                   9          The disputed term appears in independent claim 10 and dependent claim 11 of the ’494
                                  10   Patent. JCCS at 2. Claim 10 is representative of how the term is used in the claim language:
                                  11                                                 Claim 10
                                  12       10. A system for managing Downloadables, comprising:
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                                            a receiver for receiving an incoming Downloadable;
                                  13
                                            a Downloadable scanner coupled with said receiver, for deriving security profile data for
                                  14         the Downloadable, including a list of suspicious computer operations that may be
                                             attempted by the Downloadable; and
                                  15
                                            a database manager coupled with said Downloadable scanner, for storing the
                                  16         Downloadable security profile data in a database.

                                  17

                                  18          Finjan again argues that no construction is necessary in view of the term’s plain and
                                  19   ordinary meaning: hardware and/or software that controls a database. Op. Br. at 8; Reply Br. at

                                  20   5–6. Finjan’s expert maintains that “database” is a well-known component in computer security

                                  21   and software. See Medvidovic Decl. ¶ 19. Finjan also claims that the Sophos court construed the

                                  22   term “database” consistent with its interpretation of “database manager” here. Op. Br. at 8; see

                                  23   Finjan, Inc. v. Sophos, Inc., No. 14-cv-01197-WHO, 2015 WL 890621, at *2–4 (N.D. Cal. Mar. 2,

                                  24   2015). The Sophos court’s construction of “database” parallels the parties’ agreed-upon

                                  25   construction of that term in this litigation. Compare id., with JCCS at 1 (agreeing that a

                                  26   “database” is “a collection of interrelated data organized according to a database schema to serve
                                  27   one or more applications”). And in construing “database,” the Sophos court stated that “[a]

                                  28   database manager uses the database to retrieve security profile data for an incoming
                                                                                        11
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                                   1   Downloadable.” 2015 WL 890621, at *3. According to Finjan, it is undisputed that the

                                   2   “[d]atabase manager is something that ‘controls” or “manages’ a database for storing and

                                   3   retrieving information,” and thus any additional limitations are unnecessary. Op. Br. at 8.

                                   4           Finjan’s focus on the database manager’s function, however, obscures the central dispute:

                                   5   whether a database manager can encompass both hardware and software. Bitdefender contends

                                   6   that covering both is an impermissible expansion of the term that contradicts the position taken by

                                   7   Finjan and its expert in the Symantec IPR proceeding. Resp. Br. at 5. As Bitdefender notes,

                                   8   Finjan insisted in that IPR that the “database manager must be a program or programs, not

                                   9   hardware and/or software as it now contends.” Id. at 6 (quotations omitted). In Bitdefender’s

                                  10   view, that “[p]rosecution disclaimer precludes Finjan’s about-face.” Id.

                                  11          The Court agrees that Finjan’s position in the Symantec IPR sufficiently contradicted its

                                  12   current position to meet the high threshold for disavowal. See Poly-America, L.P. v. API Indus.,
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                                  13   Inc., 839 F.3d 1131, 1136 (Fed. Cir. 2016) (“While disavowal must be clear and unequivocal, it

                                  14   need not be explicit.”). In arguing for the patentability of the claimed “database manager” over

                                  15   Morton Swimmer et al. Dynamic Detection and Classification of Computer Viruses Using General

                                  16   Behaviour Patterns (“Swimmer”), Finjan stated:

                                  17                  [A] person skilled in the art at the time would understand the term
                                                      database manager to mean a program or programs that control a
                                  18                  database so that the information it contains can be stored, retrieved,
                                                      updated and sorted, which definition is consistent with Dr.
                                  19                  Davidson’s parenthetical definition of the term, a component that
                                                      manages and controls the storage and retrieval of data in the database,
                                  20                  but Swimmer does not have [such] a program or programs . . . .
                                  21   Symantec IPR, 2017 WL 1041718, at *20 (quotations omitted). Similarly, under the heading

                                  22   “Swimmer does not teach or suggest ‘database manager coupled with said downloadable scanner,

                                  23   for storing the downloadable security profile data in a database,’” Finjan’s expert opined in a

                                  24   declaration:

                                  25                  159. I understand Petitioner and Dr. Davidson identify Swimmer’s
                                                      “audit system or a portion thereof” as the claimed “database
                                  26                  manager.” A person skilled in the art at the time would understand
                                                      database manager to mean “a program or programs that control a
                                  27                  database so that the information it contains can be stored, retrieved,
                                                      updated and sorted.
                                  28
                                                                                        12
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                                   1   Adamson Decl. Ex. B, at 91 (citation omitted). In rendering that opinion, Finjan’s expert cited the

                                   2   Dictionary of Computer Words for the following definition: “Database management system [-] the

                                   3   program or programs that control a database so that the information it contains can be stored,

                                   4   retrieved, updated and sorted.” Id. The PTAB ultimately agreed with Finjan that Swimmer did

                                   5   not teach the “database manager” recited in the ’494 Patent. Symantec IPR, 2017 WL 1041718, at

                                   6   *21.

                                   7           Bitdefender’s proposed construction is identical to Finjan’s interpretation of “database

                                   8   manager” in the Symantec IPR.3 Although Finjan now contends that its expert provided the above

                                   9   cited dictionary definition as “an example of what type of functionality in database managers

                                  10   existed at the time,” that is not how the expert framed his opinion. Compare Reply Br. at 6, with

                                  11   Adamson Decl., Ex. B at 92. (“Accordingly, Swimmer’s audit system is not a program or

                                  12   programs that control a database so that the information it contains can be stored, retrieved,
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                                  13   updated and sorted.”).

                                  14           As to Judge Orrick’s claim construction order in Sophos, Finjan’s statements in the

                                  15   Symantec IPR and the PTAB’s corresponding opinion postdate that order. See Resp. Br. at 6.

                                  16   Further, Judge Orrick’s construction of “database” supports Bitdefender’s position in at least two

                                  17   respects. First, Judge Orrick found that “[t]he database indexes information according to a

                                  18   database schema (Downloadable IDs) and serves an application (a database manager) in the

                                  19   antivirus process.” 2015 WL 890621, at *3 (emphasis added). That Sophos referred to the

                                  20   database manager as an “application,” would—as Bitdefender maintains—support that the

                                  21   database manager does not include hardware. Second, as stated previously, Judge Orrick found

                                  22   that the “database manager uses the database to retrieve security profile data for an incoming

                                  23   Downloadable.” Id. (emphasis added). That the database manager performs a retrieval function

                                  24   counsels against a finding that the manager could include hardware, and supports including the

                                  25   additional functions that Bitdefender elaborates in its interpretation (i.e. storing, retrieving,

                                  26
                                  27   3
                                         Judge Alsup similarly construed “database manager” because the construction “comes verbatim
                                  28   from Finjan’s own explanation of this limitation in a former IPR proceeding.” Juniper, 2018 WL
                                       4184338, at *8.
                                                                                       13
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                                   1   updating, and sorting).

                                   2          D.    “performing a hashing function on the Downloadable and the fetched software
                                                    components to generate a Downloadable ID” (’780 Patent)
                                   3
                                                     Finjan’s Construction                          Bitdefender’s Construction
                                   4
                                                                                            “performing a hashing function that
                                   5                                                        operates across the combination of a
                                           “performing a hashing function on the
                                                                                            Downloadable together with its fetched
                                   6       Downloadable together with its fetched
                                                                                            software components to transmute the
                                           software components to generate a
                                                                                            Downloadable and its fetched software
                                   7       Downloadable ID”
                                                                                            components into a unique and reproducible
                                   8                                                        ID for that Downloadable”

                                   9

                                  10          The Court adopts Bitdefender’s construction.

                                  11          The disputed term appears in independent claims 1, 9, and 18 of the ’780 Patent. JCCS at

                                  12   2. Claim 1 is representative of how the term is used in the claim language:
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                                  13                                                Claim 1
                                  14       1. A computer-based method for generating a Downloadable ID to identify a
                                           Downloadable, comprising:
                                  15         obtaining a Downloadable that includes one or more references to software components
                                  16          required to be executed by the Downloadable;
                                             fetching at least one software component identified by one or more references; and
                                  17         performing a hashtag function on the Downloadable and the fetched software
                                  18          components to generate a Downloadable ID.

                                  19

                                  20          The parties’ central dispute over this term is whether the claimed “hashing function” must

                                  21   generate a single (unique) Downloadable ID or can yield separate Downloadable IDs. See Resp.

                                  22   Br. at 8. Bitdefender argues for the former, relying largely on the summary judgment order in

                                  23   Finjan, Inc. v. Blue Coat Sys., Inc., No. 13-cv-03999-BLF, 2015 WL 3630000, at *6 (N.D. Cal.

                                  24   June 2, 2015) (Blue Coat I). Finjan contends that Bitdefender mischaracterizes the Blue Coat I

                                  25   summary judgment order by suggesting that only a single hash can be performed. Reply Br. at 7.

                                  26   According to Finjan, that multiple hashes can be performed “cuts directly against [Bitdefender’s]
                                  27   construction requiring a hashing function to be performed across a combination of a

                                  28   Downloadable and its fetched components.” Id. (emphasis added). Finjan further argues that (1)
                                                                                       14
                                        Case 4:17-cv-04790-HSG Document 101 Filed 02/14/19 Page 15 of 29




                                   1   the Blue Coat I summary judgment order is contradicted by that court’s ultimate jury instructions;

                                   2   and (2) other cases and a PTAB construction support Finjan’s construction here.

                                   3          Contrary to Finjan’s objections, Judge Freeman’s Blue Coat I summary judgment order

                                   4   supports Bitdefender’s construction. In Blue Coat I, the parties initially agreed on the very

                                   5   construction Finjan advances in this litigation, which the Blue Coat I court naturally adopted in its

                                   6   claim construction order. Blue Coat I at *5. Despite this initial agreement, the parties later

                                   7   disputed what those words “actually” meant. Id. And forced to confront this dispute, the Blue

                                   8   Coat I court adopted the defendant’s interpretation, concluding that there was “ample disclosure in

                                   9   the ’780 Patent to support . . . that a hashing function performed on a Downloadable ‘together

                                  10   with’ its referenced components must operate across the combination of a Downloadable and its

                                  11   fetched components.” Id. at *6 (emphasis added) (citing ’780 Patent, 7:63–67, 9:58–59, 9:62–65,

                                  12   and Fig. 8).
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                                  13          Notably, the Blue Coat I court found both that: (1) a hashing function is not necessarily

                                  14   limited to a single computation; and (2) a hash or hashes “must create a unique and reproducible

                                  15   ID when applied to a Downloadable and its components.” Id. (citing ’780 Patent, 4:64–66). In so

                                  16   finding, the court observed that while hashing could be “accomplished by a sequence of several

                                  17   hashes or computations” it would “not necessarily follow that the ID generator performs ‘one or

                                  18   more’ hashing functions to generate ‘one or more’ Downloadable IDs for each Downloadable.”

                                  19   Id. at 7. The court added that this finding was not contrary to the “general rule that the indefinite

                                  20   articles ‘a’ or ‘an’ can mean ‘one or more.” Id. (citing Baldwin Graphic Sys., Inc. v. Siebert,

                                  21   Inc., 512 F.3d 1338, 1342 (Fed. Cir. 2008)). The court concluded that “it is clear that the phrase

                                  22   ‘performing a hashing function on the Downloadable together with its fetched software

                                  23   components to generate a Downloadable ID,’ requires a computation or combination of

                                  24   computations that transmutes the Downloadable and its components into a unique and

                                  25   reproducible ID for that Downloadable.’” Id. The Court finds this reasoning from Blue Coat I

                                  26   both persuasive and correct.

                                  27          Against this conclusion, Finjan notes that the ultimate jury instructions in Blue Coat I

                                  28   tracked the Markman order’s construction, which tracks Finjan’s proposed construction here. See
                                                                                         15
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                                   1   Reply Br. at 8; Dkt. No. 84-1 (“Manes Reply Decl.”) Ex. 2, at 2. But Judge Freeman’s submission

                                   2   of jury instructions tracking constructions agreed to by the parties in Blue Coat I does not negate

                                   3   her detailed analysis on summary judgment of what the claim term in fact means. Further, it

                                   4   appears Judge Freeman relied on her summary judgment construction in a post-trial order. See

                                   5   Finjan, Inc. v. Blue Coat Sys., Inc., No. 13-cv-03999-BLF, 2016 WL 3880774, at *9 (N.D. Cal.

                                   6   July 18, 2016) (“[Finjan’s expert] testified, based on documents, source code, and the testimony of

                                   7   Blue Coat engineers, that the web page and its components are gathered in a buffer and then

                                   8   hashes are related to form a Downloadable ID of the web page and its components. Thus,

                                   9   substantial evidence supported the jury’s verdict.”) (internal citation omitted).

                                  10            Finjan’s reliance on other cases is similarly unavailing. Just two of those cited decisions

                                  11   post-date the Blue Coat I summary judgment order. See Reply Br. at 8. And while one of those

                                  12   decisions adopted Finjan’s interpretation, it provided only the following reasoning: “Adopting
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                                  13   PTO Construction from the IPR of the ‘780 patent April, 2016.” See Finjan, Inc. v. Eset, LLC,

                                  14   No. 3:17-cv-0183-CAB-(BGS), 2017 WL 5501338, at *2 (S.D. Cal. Nov. 14, 2017).

                                  15   Unsurprisingly, the PTAB’s construction referenced in Eset is the other decision on which Finjan

                                  16   relies. See Dkt. No. 76-2 (“Manes Decl.”), Ex. 12. But the PTAB there applied a claim

                                  17   construction standard inapplicable here: the “broadest reasonable interpretation.” Id. at 6–7. The

                                  18   PTAB did not reference, or otherwise appear to consider, the Blue Coat I summary judgment

                                  19   order.

                                  20            More recently, judges in this district have had the opportunity to construe this term on two

                                  21   occasions. In Cisco, Judge Freeman adopted her Blue Coat I summary judgment order’s

                                  22   reasoning. 2018 WL 3537142, at *13–14. In another case, however, Judge Alsup sided with the

                                  23   PTAB’s analysis. Order Granting Early Motion for Summary Judgment on ’780 Patent at 6–10,

                                  24   Finjan, Inc. v. Juniper Networks, Inc., No. C 17-05659 WHA (N.D. Cal. Aug. 9, 2018), ECF 180.

                                  25   As explained above, the Court agrees with the analysis in Cisco and Blue Coat I’s summary

                                  26   judgment analysis.4

                                  27

                                  28
                                       4
                                        The Court recognizes that this Court’s construction differs slightly from Judge Freeman’s in
                                       Cisco, but does not view the difference as material. Judge Freeman there rejected a party’s
                                                                                       16
                                        Case 4:17-cv-04790-HSG Document 101 Filed 02/14/19 Page 17 of 29



                                              E.    “fetching” (’780 Patent)
                                   1
                                                      Finjan’s Construction                         Bitdefender’s Construction
                                   2
                                           No construction necessary – Plain and
                                                                                            “retrieving a software component that is not
                                   3       ordinary meaning. Plain and ordinary of
                                                                                            included in the Downloadable”
                                           fetching is “retrieving.”
                                   4

                                   5          The Court adopts Finjan’s construction and finds that the plain and ordinary

                                   6   meaning of “fetching” is “retrieving,” which is not limited as Bitdefender suggests.

                                   7          The disputed term appears in independent claims 1 and 18 of the ’780 Patent. JCCS at 2.

                                   8   Claim 1 is representative of how the term is used in the claim language:

                                   9                                                Claim 1
                                  10       1. A computer-based method for generating a Downloadable ID to identify a
                                           Downloadable, comprising:
                                  11         obtaining a Downloadable that includes one or more references to software components
                                              required to be executed by the Downloadable;
                                  12
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                                             fetching at least one software component identified by one or more references; and
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                                  13         performing a hashtag function on the Downloadable and the fetched software components
                                  14          to generate a Downloadable ID.

                                  15

                                  16          The parties agree that fetching means “retrieving,” but dispute whether the fetched

                                  17   software component must be within the Downloadable. See Op. Br. at 11. Bitdefender contends

                                  18   this limitation is warranted due to Finjan’s purported prior disavowals. See Resp. Br. at 12–13.

                                  19          To start, the specification supports the parties’ agreement that fetching means “retrieving,”

                                  20   and that the software component retrieved at least could be within the Downloadable. The

                                  21   specification provides:

                                  22                  The ID generator 315 receives a Downloadable (including the URL
                                                      from which it came and the userID of the intended recipient) from the
                                  23                  external computer network 105 via the external communications
                                                      interface 210, and generates a Downloadable ID for identifying each
                                  24                  Downloadable. The Downloadable ID preferably includes a digital
                                                      hash of the complete Downloadable code. The ID generator 315
                                  25                  preferably prefetches all components embodied in or identified by the
                                                      code for Downloadable ID generation. For example, the ID generator
                                  26
                                  27
                                       attempt to import Blue Coat I’s summary judgment reasoning into their proposed construction
                                  28   because it also included “unnecessary” and “confusing” language. 2018 WL 3537142, at *14.
                                       The Court finds that Bitdefender’s proposal here does not suffer from that same defect.
                                                                                       17
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                                                      315 may prefetch all classes embodied in or identified by the JavaTM
                                   1                  applet bytecode to generate the Downloadable ID. Similarly, the ID
                                                      generator 315 may retrieve all components listed in the INF file for
                                   2                  an ActiveXTM control to compute a Downloadable ID. Accordingly,
                                                      the Downloadable ID for the Downloadable will be the same each
                                   3                  time the ID generator 315 receives the same Downloadable.
                                   4

                                   5   ’780 Patent, 4:60-65 (emphasis added); see Op. Br. at 11–12. Finjan’s expert opines that the Java

                                   6   “applet” embodiment contravenes Bitdefender’s interpretation here because, “[a]s was well known

                                   7   at the time, Java applets were distributed as Downloadables as a single JAR file with referenced

                                   8   software components included in the JAR file.” Medvidovic Decl. ¶ 27. This embodiment thus

                                   9   shows that fetching can refer to “retrieving components included in the Downloadable.” Id.

                                  10   Bitdefender’s expert replies that fetching an applet involves retrieving external software

                                  11   components, but that understanding is not exclusive of Finjan’s. Put differently, Bitdefender’s

                                  12   expert does not say all of the fetched components must be external to the Downloadable. See
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                                  13   Shaefer Decl. ¶¶ 45–47. There could, for instance, be both internal and external software

                                  14   components that are fetched, which aligns with Finjan’s reading of the specification.

                                  15          Bitdefender’s disavowal argument similarly fails because the two documents on which

                                  16   Bitdefender relies do not show that Finjan clearly and unequivocally disclaimed any broader

                                  17   understanding of “fetching.” See Poly-America, L.P., 839 F.3d at 1136. First, Bitdefender relies

                                  18   on an October 13, 2013 Office Action Response document issued by the patent examiner. See

                                  19   Resp. Br. at 12; Adamson Decl. Ex. G, at 6. The cited pages, however, do not expressly mention

                                  20   fetching and appear only to observe the prior art’s teachings regarding “code signing.” See

                                  21   Adamson Decl. Ex. G, at 6; Reply Br. at 9. Second, Bitdefender relies on Finjan’s IPR

                                  22   Preliminary Response in Bluecoat Systems, Inc. v. Finjan, IPR2016-00492 (P.T.A.B.). See Resp.

                                  23   Br. at 12; Adamson Decl. Ex. H, at 34–36. But while the cited text distinguishes the prior art,

                                  24   Finjan did not make any affirmative statements regarding the scope of its claims:

                                  25                  In order to certify that a downloaded file is from a particular source
                                                      and is uncorrupted, there is simply no need (let alone a need
                                  26                  recognized in either Rubin or Waldo) to fetch any software
                                                      components referenced in the downloaded file.
                                  27

                                  28   Adamson Decl. Ex. H, at 35. Thus, neither of these statements show the patentee disavowed the
                                                                                        18
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                                   1   full scope of the claim term such that further construction is needed. See Thorner, 669 F.3d at

                                   2   1365.

                                   3           F.   “a content processor for (i) processing content received over a network” (’154
                                                    Patent)
                                   4
                                                      Finjan’s Construction                           Bitdefender’s Construction
                                   5
                                                                                              This phrase should be construed pursuant to
                                   6                                                          35 U.S.C. § 112(6) to cover the
                                                                                              corresponding structure disclosed in the
                                   7                                                          ’154 patent, namely the web browser
                                                                                              referred to at 2:64–3:2 (“a conventional
                                   8                                                          web browser”), 10:60–11:4 (“a web
                                           No construction necessary – Plain and              browser running on a client computer”),
                                   9
                                           ordinary meaning                                   and 15:33–37 (“a web browser”),
                                  10                                                          programmed to perform the operations
                                                                                              described at 11:54–59, 12:62–13:3, and
                                  11                                                          15:52–56, and equivalents thereof.
                                  12
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                                                                                              Alternatively, “a web browser”
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                                  13

                                  14           The Court holds that no construction is necessary.

                                  15           The disputed term appears in independent claim 1 of the ’154 Patent. JCCS at 2.

                                  16                                                     Claim 1
                                  17       1. A system for protecting a computer from dynamically generated malicious content,
                                           comprising:
                                  18         a content processor (i) for processing content received over a network, the content
                                              including a call to a first function, and the call including an input, and (ii) for invoking a
                                  19
                                              second function with the input, only if a security computer indicates that such invocation
                                  20          is safe;
                                             a transmitter for transmitting the input to the security computer for inspection, when the
                                  21          first function is invoked; and
                                  22         a receiver for receiving an indicator from the security computer whether it is sake to
                                              invoke the second function with the input.
                                  23

                                  24           Finjan again argues that no construction is necessary for this term. Bitdefender responds
                                  25   that (1) “content processor” is subject to Section § 112(6), and (2) to find structure and thus avoid
                                  26   the application of Section 112(6), the Court at least must construe the term as “a web browser.”
                                  27           This Court previously construed the term at issue here and found that the term is definite
                                  28   and speaks for itself. See Finjan, Inc., v. Proofpoint, Inc., No. 13-CV-05808-HSG, 2015 WL
                                                                                         19
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                                   1   7770208, at *11 (N.D. Cal. Dec. 3, 2015). In Proofpoint, the Court rejected the very argument

                                   2   Bitdefender now advances: that “content processor” is a means-plus-function term subject to

                                   3   Section 112(6). Id. at *11–12. In detail, this Court explained that (1) neither “means” nor an

                                   4   equivalent nonce word appeared in the claim language; and (2) the term “content processor” had a

                                   5   “sufficiently specific structure” based on the claim language and specification. See id. at *10–11

                                   6   (citing Williamson, 792 F.3d at 1349); ’154 Patent at 17:32–44, 17:45–49, 18:7–22, Figs. 2–3.

                                   7   Holding that the term does not come within Section 112(6), the Court held that “the term does not

                                   8   require any construction beyond its plain and ordinary meaning.” Id. at *11.

                                   9           Bitdefender nonetheless asks the Court to revisit its prior construction in Proofpoint in

                                  10   light of the Federal Circuit’s “intervening” decision in Media Rights. See Resp. Br. at 14–15.5

                                  11   Bitdefender argues that Media Rights refined Williamson by emphasizing that relational structure

                                  12   is not sufficient, and that there must be a disclosure of the object’s “internal components.” See
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                                  13   Resp. Br. at 15. But Bitdefender ignores that Media Rights’s indefiniteness finding was

                                  14   predicated on several factors not present here. For one, unlike here, the “compliance mechanism”

                                  15   term in Media Rights included one of Williamson’s exemplary “nonce” words. See Media Rights,

                                  16   800 F.3d at 1372. And unlike in Media Rights, the specification here provides tangible examples

                                  17   of the content processor. See ’154 Patent, 2:64–67 (“Client computer 110 includes a content

                                  18   processor 170, such as a conventional web browser, which processes Internet content and renders

                                  19   it for interactive viewing on a display monitor.”), 10:61–62 (“Content processor may be a web

                                  20   browser running on client computer 210.”). Based in part on this embodiment, Finjan’s expert

                                  21   reasonably opines that a person skilled in the art would understand “content processor” to possess

                                  22   its plain meaning. See Medvidovic Decl. ¶ 30; cf. Media Rights, 800 F.3d at 1372 (recognizing

                                  23   the parties’ agreement that “compliance mechanism” has “no commonly understood meaning and

                                  24   is not generally viewed by one skilled in the art to connote a particular structure”). Finally, even if

                                  25   Media Rights could be argued to counsel in favor of reconsidering the Proofpoint ruling, the

                                  26
                                  27   5
                                        Media Rights pre-dated the Proofpoint claim construction order by several months. Bitdefender
                                  28   nonetheless characterizes it as “intervening” because no party in Proofpoint filed a notice of
                                       supplemental authority. See Resp. Br. at 14; Dkt. No. 89 at 75:16–19.
                                                                                        20
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                                   1   Federal Circuit’s more-recent decision in Zeroclick more than affirms the Court’s reasoning. That

                                   2   decision made clear that courts must avoid invoking Section 112(6) in the absence of a proper

                                   3   nonce word, which is not present here. Zeroclick LLC, 891 F.3d at 1008.

                                   4            The Court is not persuaded that Media Rights in any way changes the Court’s prior

                                   5   reasoning and finding from Proofpoint. In turn, the Court again finds that no construction is

                                   6   necessary for this term and that “content processor” has sufficiently specific structure based on the

                                   7   claim language and specification.6

                                   8           G.     “a call to a first function” and “a second function” (’154 Patent)
                                   9                  Finjan’s Construction                         Bitdefender’s Construction
                                  10                                                                  “a call to a first function”
                                                                                             “a programmatic statement or instruction in
                                  11                                                         the content, coded as the name of a function
                                  12                                                         along with any parameters needed for the
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                                                                                             function to perform its task, requesting the
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                                  13                                                         services of a substitute function that was
                                                                                             replaced for an original function within the
                                  14                                                         content, at a gateway computer, prior to the
                                             No construction necessary – Plain and           content being received at the client
                                  15         ordinary meaning                                computer”
                                  16                                                                          ---------------
                                                                                                         “a second function”
                                  17
                                                                                             “the original function that was replaced
                                  18                                                         with the previously identified substitute
                                                                                             function call within the content, at a
                                  19                                                         gateway computer, prior to the content
                                                                                             being received at the client computer”
                                  20

                                  21

                                  22            The Court holds that no constructions are necessary.

                                  23            The disputed terms appear in independent claims 1 and 4 of the ’154 Patent. JCCS at 3.

                                  24   Claim 1 is representative of how the terms are used in the claim language:

                                  25

                                  26   6
                                         At the claim construction hearing, Bitdefender’s counsel explained that its “alternative
                                  27   construction was based on what [it] believe[d] would be necessary to find structure to avoid the
                                       application of [Section] 112(6)” and thus withdrew the alternative construction if the Court
                                  28   adopted its Proofpoint findings. Dkt. No. 89 at 76:2–6. The Court thus need not address the
                                       alternative construction here.
                                                                                       21
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                                                                                       Claim 1
                                   1
                                           1. A system for protecting a computer from dynamically generated malicious content,
                                   2       comprising:
                                             a content processor (i) for processing content received over a network, the content
                                   3
                                              including a call to a first function, and the call including an input, and (ii) for invoking a
                                   4          second function with the input, only if a security computer indicates that such invocation
                                              is safe;
                                   5         a transmitter for transmitting the input to the security computer for inspection, when the
                                              first function is invoked; and
                                   6
                                             a receiver for receiving an indicator from the security computer whether it is sake to
                                   7          invoke the second function with the input.
                                   8

                                   9          As with the previous term, Finjan asks this Court to confirm its Proofpoint holding and
                                  10   find that each term’s plain and ordinary meaning governs and that no construction is necessary.
                                  11   See Op. Br. at 14-15; Proofpoint, Inc., 2015 WL 7770208, at *9. In response, Bitdefender claims
                                  12   that its proposed constructions in fact better reflect the Court’s Proofpoint analysis. Resp. Br. at
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                                  13   20–21. Specifically, Bitdefender argues that in Proofpoint, the Court rejected the defendants’
                                  14   claim that the “first” and “second” functions “must be different functions,” based on its finding
                                  15   that “‘second function’ described in the claims can be the ‘original function’ identified in the
                                  16   specification.” 2015 WL 7770208, at *9.
                                  17          The Court agrees that Bitdefender’s construction in some sense tracks the Court’s analysis
                                  18   in Proofpoint, but it does not necessarily follow that the Court should import substantial
                                  19   limitations from the specification into the disputed terms. In finding, for example, that “‘the
                                  20   second function’ described in the claims can be the ‘original function’ identified in the
                                  21   specification,” the Court noted:
                                  22                  Moreover, the Federal Circuit has repeatedly warned courts that “it is
                                                      the claims, not the written description, which define the scope of the
                                  23                  patent right.” Laitram Corp. v. NEC Corp., 163 F.3d 1342, 1347
                                                      (Fed. Cir. 1998) (“[A] court may not import limitations from the
                                  24                  written description into the claims.”). Here, the claims do not use
                                                      “original” and “substitute” functions.
                                  25

                                  26   Proofpoint, 2015 WL 7770208, at *9 & n.4. Declining to import the terms “original” and
                                  27   “substitute” into the claim language, the Court concluded that these terms’ plain and ordinary
                                  28   meanings govern. In so concluding the Court reasoned that these words were “ordinary, simple
                                                                                         22
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                                   1   English words whose meaning is clear and unquestionable. . . . They mean exactly what they

                                   2   say.” Id. (citing Chef Am., Inc. v. Lamb-Weston, Inc., 358 F.3d 1371, 1373 (Fed. Cir. 2004)). The

                                   3   Court’s prior decision not to read “original” and “substitute” into the claim terms also applies

                                   4   here, even if Bitdefender’s position aligns with some of the Court’s reading of the specification.

                                   5          Bitdefender also presents no new authority for the Court to revisit its prior construction.

                                   6   See Reply Br. at 12. Bitdefender instead asserts that the Court’s Proofpoint order “did not address

                                   7   the Patentee’s disavowal by reference to ‘the present invention’ and ‘consistent and exclusive

                                   8   disclosure of a single embodiment’ corresponding to the first and second functions of the claims.”

                                   9   See Resp. Br. at 21. But Bitdefender’s disavowal argument fails. To be sure, the ’154 Patent

                                  10   refers at times to the “original” and “substitute” functions as included in several “preferred

                                  11   embodiment(s) of the present invention.” See, e.g., ’154 Patent, 6:4–49. But there are several

                                  12   references to a “preferred embodiment of the present invention” that include “a call to a first
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                                  13   function” and “invoking the second function” without the use of the terms “original” and

                                  14   “substitute.” See ’154 Patent, 7:8–19, 7:32–43. In addition, the patentee articulates several

                                  15   preferred embodiments of the present invention that refer only to “a function with the input,” and

                                  16   lack any specific reference to a “first” or “second” function. See ’154 Patent, 7:44–50, 7:51–58,

                                  17   7:59-65. Considering this variation, the Court finds that the patentee did not demonstrate a clear

                                  18   intention to limit the claimed invention to “first” and “second” and/or “original” and “substitute”

                                  19   functions. Cf. Honeywell Int’l, Inc. v. ITT Indus., Inc., 452 F.3d 1312, 1318–20 (Fed. Cir. 2006)

                                  20   (holding the patentee disavowed the use of carbon fibers from the claimed invention both because

                                  21   “the only fuel component disclosed and claimed in the patent was a fuel filter,” and because the

                                  22   patent’s written description “informed its readers specifically why carbon fibers would not be

                                  23   suitable . . . in the claimed invention”). This finding is consistent with the Court’s statement in

                                  24   Proofpoint that the second function “can” be the original function described in the specification,

                                  25   not that it must be. See 2015 WL 7770208, at *9.

                                  26          Given the lack of a clear disavowal of subject matter, the Court reaffirms its prior holding

                                  27   that the terms’ plain and ordinary meanings govern, and no construction is necessary. See

                                  28   Phillips, 415 F.3d at 1312 (“[T]he words of a claim are generally given their ordinary and
                                                                                         23
                                           Case 4:17-cv-04790-HSG Document 101 Filed 02/14/19 Page 24 of 29




                                   1   customary meaning.”).7

                                   2           H.     “when the first function is invoked” (’154 Patent)
                                   3                   Finjan’s Construction                            Bitdefender’s Construction
                                   4         No construction necessary – Plain and              “in response to the first function being
                                             ordinary meaning                                   invoked”
                                   5

                                   6            The Court finds that no construction is necessary, that the plain and ordinary

                                   7   meaning of “when” applies, and that the plain and ordinary meaning of “when” is not

                                   8   limited to the conditional meaning of the word, as Bitdefender proposes.

                                   9            The disputed term appears in independent claims 1 and 4 of the ’154 Patent. JCCS at 3.

                                  10   Claim 1 is representative of how the term is used in the claim language:

                                  11                                                       Claim 1
                                  12         1. A system for protecting a computer from dynamically generated malicious content,
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                                             comprising:
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                                  13           a content processor (i) for processing content received over a network, the content
                                  14            including a call to a first function, and the call including an input, and (ii) for invoking a
                                                second function with the input, only if a security computer indicates that such invocation
                                  15            is safe;
                                               a transmitter for transmitting the input to the security computer for inspection, when the
                                  16            first function is invoked; and
                                  17           a receiver for receiving an indicator from the security computer whether it is sake to
                                                invoke the second function with the input.
                                  18
                                  19            The parties’ dispute here turns on whether the Court must construe the term “when” to

                                  20   mean “in response to.” See Dkt. No. 89, at 90:24–25, 91:4–5. Finjan contends that this simple

                                  21   English word speaks for itself and that a plain and ordinary meaning thus should apply. Op. Br. at

                                  22   17. Finjan’s expert adds that a person skilled in the art needs no further limitation or construction

                                  23   to understand this word when read in context. Medvidovic Decl. ¶¶ 41–43. In response,

                                  24
                                       7
                                  25     The Court acknowledges that a recent decision by Judge Freeman in this district construed these
                                       terms differently. See Cisco, 2018 WL 3537142, at *20–23. The parties here, however, do not
                                  26   present the same arguments that were raised in that case. More important, the Court respectfully
                                       differs with Cisco’s apparent confinement of the claim to embodiments disclosed in the
                                  27   specification. See id. (“Finjan does not point to any disclosure in the ’194 patent that shows that
                                       invoking the ‘first function’ and ‘second function’ are the same type of function.”). Cf. Phillips,
                                  28   415 F.3d at 1323 (“[A]lthough the specification often describes very specific embodiments of the
                                       invention, we have repeatedly warned against confining the claims to those embodiments.”).
                                                                                         24
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                                   1   Bitdefender contends that “when” can have both a conditional and temporal meaning. See Resp.

                                   2   Br. at 21–22. And Bitdefender claims that the patentee repeatedly used “when” to connote a

                                   3   contingency, as “the input is not passed to the security computer until the content processor”

                                   4   executes a call to the security computer. Id. at 22. Bitdefender again relies on Honeywell for the

                                   5   proposition that the patentee’s repeated and exclusive reference to this term’s conditional meaning

                                   6   implies a disavowal of alternate interpretations. See id. at 23 (citing 452 F.3d at 1318).

                                   7             The Court agrees that “when” can have conditional or temporal importance, but the Court

                                   8   finds no indication that the patentee either acted as his own lexicographer or disavowed one of

                                   9   these interpretations. Even the conditional meaning of “when” can include a temporal element, in

                                  10   this context. For example, the input is not passed until (or after) the call to the security computer

                                  11   is executed. See ’154 Patent, 10:44–64 (“When content processor invokes the substitute function

                                  12   call (2), the input is passed to security computer 215 for inspection.”). There is accordingly no
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                                  13   unmistakable disavowal to justify reading an extrinsic limitation into the claims. Phillips, 415

                                  14   F.3d at 1315.

                                  15             The Court thus finds that the plain and ordinary meaning of “when” governs, and that the

                                  16   plain and ordinary meaning is not limited to the conditional sense of the word, as Bitdefender

                                  17   argues.

                                  18             I.   “a warning of potential risk” (’299 Patent)
                                  19                    Finjan’s Construction                         Bitdefender’s Construction
                                  20                                                          “an indication that a security assessment
                                              No construction necessary – Plain and           has not yet been performed by the content
                                  21          ordinary meaning                                scanner, distinct from presenting potential
                                                                                              security risks”
                                  22

                                  23             The Court finds that no construction is necessary.

                                  24             The disputed term appears in independent claims 1, 13, 20, and 21 of the ’299 Patent.

                                  25   JCCS at 3. Claim 1 is representative of how the term is used in the claim language:

                                  26   //

                                  27   //

                                  28   //
                                                                                         25
                                        Case 4:17-cv-04790-HSG Document 101 Filed 02/14/19 Page 26 of 29



                                                                                      Claim 1
                                   1
                                           1. A method for appending security information to search engine results, comprising:
                                   2         issuing to a search engine a search request for web content, the search request having at
                                              least one designated search term;
                                   3
                                             receiving from the search engine search results identifying web content that includes the at
                                   4          least one designated search term;
                                             generating a search results summary that presents the identified web content;
                                   5
                                              issuing to a content scanner a request for assessment of at least a portion of the identified
                                   6          web content, for potential security risks;
                                   7         receiving from the content scanner assessments of potential security risks of the at least a
                                              portion of the identified web content; and
                                   8         dynamically generating a combined search and security results summary comprising:
                                   9            presenting the at least a portion of the identified web content, subsequent to said
                                                 generating a search results summary and prior to completion of said receiving from the
                                  10             content scanner;
                                                dynamically updating the combined search and security results summary, comprising
                                  11
                                                 presenting potential security risks of the presented web content, after the assessments
                                  12             of potential security risks are received from the content scanner; and
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                                                displaying a warning of potential risk, subsequent to said presenting and prior to said
                                  13             dynamically updating.
                                  14

                                  15          The parties dispute whether the claim language speaks for itself. Finjan argues that it does

                                  16   and thus the Court need not construe the term. Op. Br. at 18–19. Bitdefender disagrees, arguing

                                  17   that Finjan amended its claims to require a “time sequence of operations” whereby the “warning of

                                  18   potential risk” signals that a security assessment has yet to be performed by the content scanner.

                                  19   Resp. Br. at 24. Bitdefender highlights that nothing in its construction is “inconsistent” with the

                                  20   claim language. Id. at 25.

                                  21          Although Bitdefender’s interpretation does not expressly contravene a reading of the

                                  22   claims, Bitdefender fails to overcome the presumption that a plain and ordinary meaning should

                                  23   apply. The language of claim 1 states that “a warning of potential risk” occurs “subsequent to said

                                  24   presenting and prior to said dynamically updating [the combined search and security results

                                  25   summary].” See ’299 Patent, 13:10–16. And those parts of the prosecution history that

                                  26   Bitdefender cites do not show the clear disavowal of some timing component that is not already

                                  27   reflected in claim 1’s language. See Adamson Decl., Ex. N at 4, Ex. O at 2–3 (“[D]isplaying a

                                  28   notice of risk, indicating that said generating a combined search and security results summary is in
                                                                                        26
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                                   1   progress, subsequent to said generating a search results summary and prior to said generating a

                                   2   combined search and security results summary.”), Ex. P at 2–3 (claiming “displaying a . . .

                                   3   warning of potential risk, . . . subsequent to said . . . presenting and prior to said . . . dynamically

                                   4   updating.”). There is similarly no basis for further construction based on amendments made

                                   5   during the ’299 patent’s prosecution, as any such amendments were sufficiently incorporated into

                                   6   the claim language. Id.

                                   7            At the claim construction hearing, Bitdefender stressed that a September 10, 2010 Office

                                   8   Action Response referred to the “warning of potential risk” taking place “in the interim” between

                                   9   “presenting” and “dynamically updating,” but that language “is not there in the claim.” Dkt. No.

                                  10   89 at 107:11–23; Dkt. No. 81-2 Ex. P, at 15. But again, nothing about the warning of potential

                                  11   risk occurring “in the interim” is not already reflected in the claim by the language that it takes

                                  12   place “subsequent to said presenting and prior to said dynamically updating.” The temporality of
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                                  13   “in the interim,” in other words, is present in the claim already.

                                  14            The Court finds the principle against importing extrinsic limitations into the claim terms

                                  15   applies under the circumstances because Bitdefender has not demonstrated any unambiguous

                                  16   disavowal that is not already reflected in the claim language.

                                  17   //

                                  18   //

                                  19   //

                                  20   //

                                  21   //

                                  22   //

                                  23   //

                                  24   //

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                                  26   //

                                  27   //

                                  28   //
                                                                                           27
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                                       IV.         CONCLUSION
                                   1

                                   2               The Court CONSTRUES the disputed terms as follows:

                                   3        Patent                     Claim Term                                   Construction
                                   4                                                                  “hostile or potentially hostile computer
                                            ’494       “suspicious computer operations”
                                                                                                      operations”
                                   5
                                                                                                      “Downloadable software that searches
                                   6                   “Downloadable scanner coupled with said        code to identify suspicious patterns or
                                            ’494       receiver, for deriving security profile data   suspicious computer operations, coupled
                                   7                   for the Downloadable”                          with said receiver, for deriving security
                                                                                                      profile data for the Downloadable”
                                   8
                                                                                                      “A program or programs that control a
                                   9                                                                  database so that the information it
                                            ’494       “database manager”
                                                                                                      contains can be stored, retrieved,
                                  10
                                                                                                      updated, and sorted”
                                  11                                                                  “performing a hashing function that
                                  12                                                                  operates across the combination of a
                                                       “performing a hashing function on the
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                                                                                                      Downloadable together with its fetched
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                                                       Downloadable and the fetched software
                                  13        ’780                                                      software components to transmute the
                                                       components to generate a Downloadable
                                                                                                      Downloadable and its fetched software
                                  14                   ID”
                                                                                                      components into a unique and
                                                                                                      reproducible ID for that Downloadable”
                                  15
                                                                                                      No construction necessary – Plain and
                                  16                                                                  ordinary meaning of “fetching” is
                                            ’780       “fetching”
                                  17                                                                  “retrieving,” which is not limited as
                                                                                                      Bitdefender suggests
                                  18
                                                       “a content processor for (i) processing        No construction necessary – Plain and
                                            ’154
                                  19                   content received over a network”               ordinary meaning
                                                                                                      No construction necessary – Plain and
                                  20        ’154       “a call to a first function”
                                                                                                      ordinary meaning
                                  21
                                                                                                      No construction necessary – Plain and
                                            ’154       “a second function”
                                  22                                                                  ordinary meaning

                                  23                                                                  No construction necessary – Plain and
                                            ’154       “when the first function is invoked”           ordinary meaning, which is not limited
                                  24                                                                  to the conditional meaning of “when”

                                  25                                                                  No construction necessary – Plain and
                                            ’299       “a warning of potential risk”
                                                                                                      ordinary meaning
                                  26
                                  27   //

                                  28   //
                                                                                              28
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                                   1            The Court SETS a further case management conference (“CMC”) for March 12, 2019 at

                                   2   2:00 p.m. The Court also DIRECTS the parties to meet and confer before the CMC to discuss a

                                   3   proposed case schedule through trial and to submit a joint CMC statement by March 5, 2019.

                                   4            IT IS SO ORDERED.

                                   5   Dated:    2/14/2019
                                   6                                                 ______________________________________
                                                                                     HAYWOOD S. GILLIAM, JR.
                                   7                                                 United States District Judge
                                   8

                                   9

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